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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Costs (Long Form)

CLERK, LS. DISTRICT COURT
WEST. DIST. OF PENNSYLVANIA
UNITED STATES bah COURT

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Kona Sabsh Emtyt) se

Plaintiff/Petitioner

Feabral BUCH of Trespartin ) Civil Action No. i2O “CV-4 i
Defendant/Respondent C PP RT| )

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS

 

 

(Long Form)
Affidavit in Support of the Application Instructions
lam a plaintiff or petitioner in this case and declare Complete all questions in this application and then sign it.

that I am unable to pay the costs of these proceedings Do not leave any blanks: if the answer to a question is “0,”
and that I am entitled to the relief requested. Ideclare “none,” or “not applicable (N/A),” write that response. If
under penalty of perjury that the information below is you need more space to answer a question or to explain your
true and understand that a false statement may result in answer, attach a separate sheet of paper identified with your

a dismissal of my claims. name, your case's docket number, and the question number.
Signed: Kh AbK brut Date: febayy II ALLO

1. For both you and your spouse estimate the average amount of money received from each of the following
sources during the past 12 months. Adjust any amount that was received weekly, biweekly, quarterly,
semiannually, or annually to show the monthly rate. Use gross amounts, that is, amounts before any deductions
for taxes or otherwise.

 

 

 

 

 

 

 

 

 

 

 

 

Income source Average monthly income Income amount expected
amount during the past 12 next month
months

You Spouse You Spouse
Employment $ 0.00 |$ 0.00|$ 0.00 |s 0.00
Selfemployment $ 0.00 |$ 0.00}$ 0.00 |$ 0.00
Income from real property (such as rental income) ¢ 0.00 |$ 0.0018 0.00 |$ 0.00
Interest and dividends § 0.0018 0.00/$ 0.00 |S 0.00
Gifts $ 0.00 |$ 0.00|$ 0.00 | 0.00

Ali

mony $ 0.00 |$ 0.00]8 0.00 |§ 0.00
Child support $ 0.00 |$ 0.00/$ 0.00 |$ 0.00

 

 

 

 

 

 

 
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Retirement (such as social security, pensions, annuities,
insurance) $ 0.00/$ 0.00/$ 0.00 |$ 0.60
Disability (such as social security, insurance payments) 5 750.00$ 0.00/$ 750.00 |$ 0.00
Unemployment payments
proymen Pay $ 0.00]$ 0.00/$ 0.00 {§ 0.00
Public-assist A i
ublic-assistance (such as welfare) $ 0.00/$ 0.0015 0.00 |$ 0.00
Other ify):
(specify) $ 121.00]$ 0.00}$ 121.00 |$ 0.00
871.00 . : .
Total monthly income: $ 0.00/$ 871.00 |$ 0.00
2. List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
other deductions.)
Employer Address Dates of employment Gross
monthly pay
N/A- disabled N/A- disabled N/A- disabled $ 0.00
N/A- disabled N/A- disabled N/A- disabled $ 0.00
3. List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
taxes or other deductions.)
Employer Address Dates of employment Gross
monthly pay
N/A- no spouse N/A- no spouse N/A- no spouse $ 0.00
N/A- no spouse N/A- no spouse N/A- no spouse $ 0.00
N/A- no spouse N/A- no spouse N/A- no spouse $ 0.00

 

 

 

 

 

4, How much cash do you and your spouse have? $ 42.00 { dbyJt )

Below, state any money you or your spouse have in bank accounts or in any other financial institution.

 

 

 

 

 

Financial institution Type of account Amount you have Amount your
Al 4 spouse has
hen
PNC Bank Spend, Reserve, Growth $ 1A BCC 11.56 |$ 0.00
TT £

BB and T Bank checking $ Ay WEE AY 30.96 /$ 0.00
4

Chase Bank checking $ (Bos U -660.00 1$ 0.00

 

 

 

 

 

If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5. List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
household furnishings.
Assets owned by you or your spouse

Home (Value) $ 0.00
Other real estate (Value) $ 0.00
Motor vehicle #/ (Value) $ 0.00

Make and year: N/A- Mercedes C-230 was towed in Las Vegas

Model: N/A- Mercedes C-230 was towed in Las Vegas

Registration #: N/A- Mercedes C-230 was towed in Las Vegas
Motor vehicle #2 (Vatue) $ 0.00

Make and year: N/A- Mercedes C-230 was towed in Las Vegas

Model: N/A- Mercedes C-230 was towed in Las Vegas

Registration #: N/A- Mercedes C-230 was towed in Las Vegas
Other assets (Value) $ 0.00
Other assets (Value) $ 0.00
6. State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse Amount owed fo you Amount owed to your spouse
money

 

Stanley Frank $ Vb rt 4,000.00|$ 0.00
Parris Foster $ Aheot 4,000.00|$ 0.00

Lori Dodson $ hast 200.00|$ 0.00

7. State the persons who rely on you or your spouse for support.

 

 

 

 

 

 

 

 

Name (or, if under 18, initials only) Relationship Age

 

N/A- parental rights were terminated on June 1st, 2009 | N/A- parental rights were terminated in 2009 0

 

N/A- parental rights were terminated on June 1st, 2009 | N/A- parental rights were terminated in 2009 0

 

 

 

N/A- parental rights were terminated on June 1st, 2009 | N/A- parental rights were terminated in 2009 0

 

 

 
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8. Estimate the average monthly expenses of you and your family. Show separately the amounts paid by your
spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
monthly rate.

 

You Your spouse

 

Rent or home-mortgage payment (including lot rented for mobile home)
Are real estate taxes included? O Yes No 3 0.00 |$ 0.00
Is property insurance included? OF Yes if No

 

 

 

 

 

 

 

 

Utilities (electricity, heating fuel, water, sewer, and telephone) $ 0.00 }§ 0.00
Home maintenance (repairs and upkeep) $ 0.00 /$ 0.00
Food $ 140.00 |$ 0.00
Clothing $ 40.00 |$ 0.00
Laundry and dry-cleaning $ 15.00 |$ 0.00
Medical and dental expenses $ 25.00 |$ 0.00
Transportation (uot including motor vehicle payments) $ 60.00 |$ 0.00
Recreation, entertainment, newspapers, magazines, etc. $ 80.00 |$ 0.00

 

Insurance (not deducted from wages or included in mortgage payments)

 

 

 

 

 

 

 

 

 

 

 

Homeowner's or renter's: N/A- no renter’s insurance 3 0.00 |$ 0.00
Life: N/A- no life insurance 5 0.00 |§ 0.00
Heatth: Medicare, Medicaid, & AETNA/Wellcare § 100.00 1§ 0.00
Motor vehicle: N/A- no motor vehicle owned $ 0.50 |$ 0.00
Other: ’ N/A- no other types of insurance $ 0.00 |$ 0.00
Taxes (not deducted from wages or included in mortgage payments) (specify): $ 0.00 1s 0.00
Installment payments
Motor vehicle: N/A- Mercedes C-230 was towed in 2016 § 0.00 |$ 0.00
Credit card (name): N/A- no credit cards currently owned $ 0.00 |§ 0.00
Department store (name): N/A- no department store cards $ 0.00 |$ 0.00
Other: N/A- no other types of cards owned $ 0.00 |$ 0.00

 

0.00

 

 

 

 

Alimony, maintenance, and support paid to others $ 0.00 |¢

 
 

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Regular expenses for operation of business, profession, or farm (attach detailed
statement) $ 0.00)$ 0.00
Other (specif): N/A- no other types of expenses at the moment $ 0.00)$ 0.00

460.00 0.00

Total monthly expenses: §

9. Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the

10.

11.

12.

next 12 months?

Yes M&No If yes, describe on an attached sheet.

Have you spent — or will you be spending — any money for expenses or attorney fees in conjunction with this
lawsuit? O Yes No

If yes, how much? $ 0.00

Provide any other information that will help explain why you cannot pay the costs of these proceedings. .
Because of the decision of Judge Saundra Brown Armstrong in the 2014 case of Emrit v. Yahoo, the plaintiff

must state that this IFP application is being submitted in good faith with rough estimates and approximations
that fluctuate from time to time and that the plaintiff is neither a tax attorney nor a certified public accountant
(CPA) who can prepare financial statements according to GAAP promulgated by FASB and EITF. The case
of Emrit v. Yahoo was in Northern California in Oakland, CA and is studied at Santa Clara Law School.

Identify the city and state of your legal residence.

Sarasota, Florida

Your daytime phone number: (703) 936-3043
Yourage: 43 Your years of schooling: 20
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&PNC

ACCOUNT ACTIVITY (Sunday, Feb 09, 2020)

Virtual Wallet Spend X9111

Available Balance $10.11
Balance $15.11

Overdraft Protected by Reserve

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MONTHLY TRANSACTIONS
Date Description Withdrawal Deposit Category Balance
February

reg 9 MCDONALD'S F10887 CARD#1942 $5.00

Feb 7 USPS $2.40 Shipping $15.11
Electronics +

Feb 7 Amazon $13.36 Merchandise $17.51

Feb 6 Publix Super Markets $1.41 Groceries $4.15

Feb 6 USPS $6.00 Shipping $5.56

Feb 6 McDonald's $5.35 Restaurants $11.56

Feb5 USPS $10.00 Shipping $16.91

Feb 4 USPS $6.80 Shipping $26.91

Feb 4 USPS $12.00 Shipping $33.71
Electronics +

Feb 4 Amazon $10.88 Merchandise $45.71
Electronics +

Feb 4 Amazon $10.79 Merchandise $56.59
Electronics +

Feb 4 Amazon $10.84 Merchandise $67.38
Electronics +

Feb 4 Amazon $10.84 Merchandise $78.22
Electronics +

Feb 4 Amazon $13.11 Merchandise $89.06

Feb 4 Amazon $10.88 Fhe ehanise $102.17

Feb 4 Amazon $13.47 ectronics * $113.05

Feb 4 Amazon Marketplace $6.65 Office Expenses $126.52

Feb 4 Amazon Marketplace $7.46 Office Expenses $133.17

Feb 4 Amazon Marketplace $7.26 Office Expenses $140.63

troni

Feb 4 Amazon $10.61 reels $147.89

Feb3 Service Charge $1.20 pervice Charges* — g158 50

Feb 3 Transfer $30.00 Transfers $159.70
Electronics +

Feb 3 Walmart $43.73 Merchandise $189.70
Electronics +

Feb 3 Amazon $10.94 Merchandise $233.43
Etectronics +

Feb 3 Amazon $13.35 Merchandise $244.37
Electronics +

Feb3 Amazon $13.07 Merchandise $257.72
Electrani

Feb 3 Amazon $10.89 Merchandise $270.79

Feb 3 Amazon $10.89 Electronics + $281.68

Merchandise

 
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Eid&tonics +

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Feb 3 Amazon Merchandise $292.57
Electronics +
Feb 3 Amazon $10.61 Merchandise $305.81
Feb 3 XX1942 ROMAN WWWGETROMA NY $36.00 Restaurants $316.42
Feb 3 Amazon $13.42 Electronics + $352.42
. Merchandise .
Feb 3 Amazon $13.36 Electronics + $365.84
‘ Merchandise '
Electronics +
Feb 3 Amazon $13.03 Merchandise $379.20
Feb 3 Amazon $13.03 Electronics + $392.23
‘ Merchandise .
Feb 3 Amazon $13.47 Electronics + $405.26
. Merchandise .
Electronics +
Feb 3 Amazon $13.14 Merchandise $418.73
Electronics +
Feb 3 Amazon $13.11 Merchandise $431.87
Feb 3 AX1942 MuslimaCGom Southport AU $39.99 Entertainment $444.98
Feb 3 MetroPCS $50.00 Cable + Phone $484.97
Feb3 ATM/Cash Withdrawal $200.00 ATM $534.97
Feb 3 SSA $750.00 Paychecks $734.97
January
Electranics +
Jan 17 Amazon $10.69 Merchandise -$15.03
Electronics +
Jan 13 Amazon $10.69 Merchandise -$25.72
Jang Service Charge $1.20 mens Charges + $36.41
Jan 9 Service Charge $1.05 pervice Charges + -$35.21
ees
Jan 9 XX2009 RussianCupidCom Southport AU $39.99 Other Expenses -$34.16
Jan 9 XX2009 UkraineDateCom Southport AU $34.99 Services + Supplies $5.83
Jan 9 Service Charge/Fee Refund $36.00 Refunds $40.82
Jan 9 Service Charge/Fee Refund $36.00 Refunds $4.82
Jang Overdraft Charge $36.00 peice Charges + -$31.18
Jan 9 Overdraft Charge $36.00 Service Charges + ¢4 89
Jan & ACH WEBSINGLE XX7099 BBT CK WEBXFR TRANSFER $30.00 Transfers $40.82
Jan & ACH WEBSINGLE XX9793 BBT CK WEBXFR TRANSFER $30.00 Transfers $70.82
Jan & Fiverr $7.00 Services + Supplies $100.82
Jans RECURRING XX2008 RADIO AIRPLAY XX9318 NY $30.00 Travel $107.82
Jan 8 Amazon $10.69 Erectfonics * $137.82
Jan 8 Amazon $10.69 eons: $148.51
Electronics +
Jan 8 Amazon $10.69 Merchandise $159.20
Electronics +
Jan 7 Amazon $10.69 Merchandise $169.89
Electronics +
Jan 7 Amazon $10.69 Merchandise $180.58
Electronics +
Jan 7 Amazon $10.69 Merchandis . $191.27
Electronics +
Jan7 Amazon $10.69 Merchandise $201.96
Jan7 Amazon $10.69 Electronics + $212.65

Merchandise
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Jan? Amazon CaS€ 1:20-cv-00041-SPB Document1 Filed Oe/PQ/20 Page 8 OE\deBonics + $223.4
Jan7 Amazon $10.69 Fectfonics * $234.03
Jan7 Amazon $10.69 Flectlonics * $244.72
Jan 7 Amazon $10.69 Frectfonics * $255.41
Jan7 Amazon $10.69 Frectfanics * $266.10
Jan 7 Amazon $10.69 Electonics * $276.79
Jan? Amazon $10.69 econ $287.48
Jan7 Amazon $10.69 Electronics * $298.17
Jan7 Amazon $10.69 Pecttonics * $308.86
Jan7 Amazon $10.69 Sectors * $319.55
Jan7 Amazon $10.69 Fr econics * $330.24
Jan 7 Amazon $10.84 eons * $340.93
Jan7 Amazon $10.69 Fe ctonis $351.77
Jan 7 Amazon $10.69 Freovonics * $362.46
Jan7 Amazon $10.69 recronics * $373.15
Jan 7 Amazon $10.69 Electonics * $383.84
Jan 7 Amazon $10.59 Electonics * $394.53
Jan? Adjustment $29.99 Refunds $405.12
Jan6 ACH WEBSINGLE XX3881 BBT CK WEBXFR TRANSFER $20.00 Transfers $375.13
Jan & Amazon $12.99 Electronics * $395.13
Jan 6 Amazon $10.59 Frectfonics * $408.12
Jan6 Amazon $10.59 echentiss $418.71
Jan6 Amazon $10.59 eee $429.30
Jan 6 Amazon $10.59 Electonics * $439.89
Jan 6 Amazon $10.69 Frectronics * $450.48
Jan 6 Amazon $10.84 Fectionics * $461.17
Jan 6 Amazon $10.64 econ $472.01
Jan 6 Amazon $10.71 A econe $482.65
Jan 6 Amazon $10.81 Frectfonics * $493.36
Jan 6 Amazon $10.90 Electfonics * $504.17
Jan 6 Amazon $10.85 rectors: $515.07
Jan6 Amazon $10.54 See $525.92
Jan 6 Amazon $10.59 Electronics + $536.46

Merchandise

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Jan 6 Amazon Case 1:20-cv-00041-SPB Document 1 Filed 02/28/20 Page 9 offadonics * $547.05
erchandise
Electronics +
Jan 6 Amazon $10.82 Merchandise $557.69
Jan 6 Amazon $10.76 Peotone * $568.51
fené__Aezon $1075 restores ss7027
Jan 6 Amazon $10.69 eyonics * $590.06
Jan 6 Amazon $10.69 rectronics $600.75
Jan 6 Amazon $10.59 Seo $611.44
Jan 6 Amazon $10.51 Coconcs $622.03
Jan6 Amazon $6.14 ees * $632.54
Jan 6 Amazon Marketplace $7.83 Office Expenses $638.68
Jan 6 Amazon Marketplace $6.24 Office Expenses $646.51
Jan6 VALLEY MALL PLAZA $29.99 Insurance $652.75
Jan 6 MetroPCS $50.00 Cable + Phone $682.74
Jan6é XX2005 ROMAN WWWGETROMA NY $36.00 Restaurants $732.74
Jan 3 Publix Super Markets $11.42 Groceries $768.74
Jan 3 USPS $9.00 Shipping $780.16
Jan 3 SSA $840.00 Paychecks $789.16
December
Dec 20 Amazon $9.99 Moctrontes * -$50.84
Dec13 Amazon $9.99 rect onic * -$60.83
Dec 11 XX2345 HALFWAY LIQUORS HAGERSTOWN MD $11.49 Groceries -$50.84
Dec 11 McDonald's $16.41 Restaurants -$39.35
Dec 11 XX2345 WASHINGTON COUNTY FREE HAGERSTOWN MD $10.00 Other Expenses -§22.94
Dec 10 USPS $3.75 Shipping -$12.94
Dec 10 Dollar General Store $4.66 Mochondise $9.19
ics +
Dec 10 Amazon $10.74 Merchandise “$4.53
ics +
Dec 10 Amazon $10.69 tectonics. : $6.21
ics +
Deci0 Amazon $10.59 Fectvonics ¢ $16.90
ranics +
Dec 10 Amazon $10.59 velar $27.49
Electronics +
Dec 10 Amazon $10.65 Me vchandise $38.08
Electronics +
Dec 10 Amazon $9.99 Merchandise $48.73
Electronics +
Dec10 = Amazon $10.59 Merchandis i" $58.72
Electronics +
Dec 10 Amazon $10.88 Merchandise $69.31
Electronics +
Dec 10 Amazon $10.46 Merchandise $80.19
Dec 3 XX2343 TST VINCES NEW YORK HAGERSTOWN MD $9.71 Travel $90.65
Electronics +
Dec 9 Amazon $10.69 Merchandise $100.36
Dec 9 Amazon $10.91 Electronics + $114.05

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Decd _XX2342 HALEY RUDRSCY ABOLISH Document 1_ Filed 0OA76/20_ Page 10 cress $121.98
orc Amz e089 Scions aus
Dec 9 XX2342 RADIO AIRPLAY XX9318 NY $30.00 Travel $145.09
Dec 9 Amazon $10.81 Ferree = $175.09
Dec 9 Dollar General Store $8.48 Sector $185.90
Dec 9 McDonald's $18.81 Restaurants $194.38
Dec 9 Amazon $10.59 Frectronics * $213.19
Dec 9 Amazon $10.62 Fectfonics * $223.78
Dec 9 Amazon $10.31 Eeetronics * $234.40
Dec 9 Amazon Marketplace $9.87 Office Expenses $244.71
Dec 9 Amazon $10.69 re ctronis $254.58
Dec 9 Amazon $10.69 Electronics $265.27
Dec 9 Amazon $10.94 Blectronics + $275.96
Dec 9 Amazon $10.98 Ffectronics * $286.90
Dec 9 Amazon $9.99 recone * $297.88
Dec 9 Amazon $9.99 Seon $307.87
Dec 9 Amazon $10.61 Electronics * $317.86
Dec9 Amazon $10.91 Electronics * $328.47
Dec 9 Amazon $10.78 Erecttonics * $339.38
Dec 9 Amazon $10.50 recone * $350.16
Dec 9 Amazon $10.52 Seis $360.66
Dec 9 Amazon $10.71 Eectonics * $371.18
Dec 9 Amazon $10.79 Mentor gies $381.89
Dec 9 Amazon $10.59 eect One $392.68
Dec 9 Amazon $10.88 Qocchandice $403.27
Dec 9 Amazon $10.94 Sete $414.15
Dec 9 Amazon $10.59 Peconics * $425.09
Dec9 Amazan $10.54 Secon $435.68
Dec 9 Amazon $10.69 Fecttonics * $446.22
Dec9 Amazon $10.59 Se cfoniee $456.91
Dec9 Amazon $10.59 Fectronics $467.50
occoAnazn si ce
Dec 9 Amazon $10.86 Fiectronics * $489.06
Dec 9 Amazon $10.64 Electronics + $499.92

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